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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE TESLA INC. SECURITIES                           Case No. 18-cv-04865-EMC
                                         LITIGATION
                                   8
                                                                                               COURT’S PROPOSED VERDICT
                                   9                                                           FORM
                                  10                                                           Docket Nos. 520, 528
                                  11

                                  12
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                                  14           The Court’s proposed verdict form is below. The Court explains each section of the

                                  15   proposed verdict form as follows.

                                  16           First, as the Court has previously explained, it generally prefers to use a general verdict

                                  17   form where appropriate to do so for clarity and the sake of simplicity. Courts in other securities

                                  18   class actions—including this Court—have previously used general verdict forms to decide

                                  19   liability. See generally Docket No. 476 (providing examples of general verdict forms used in

                                  20   other securities cases). The Court has therefore adopted Plaintiff’s proposed form of verdict for

                                  21   the Rule 10B-5 Claim Liability section.

                                  22           Second, for the Rule 10B-5 Claim Damages section, the parties disagree about whether the

                                  23   verdict form should include either an empty table where the jury can write in their determinations

                                  24   of artificial inflation and implied volatilities, a prefilled table using the calculations of Plaintiff’s

                                  25   expert, or both an empty table and a prefilled table. See Docket Nos. 528-1 (Defendants’ Second

                                  26   Amended Proposed Verdict, or “Def. Verdict”) at 4–6, Docket No. 520-1 (Plaintiff’s Second

                                  27   Amended Proposed Verdict, or “Pl. Verdict”) at 3–5. If the evidence at trial is sufficient for a

                                  28   reasonable juror to conclude that Tesla stock was artificially inflated by some but not all of the
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                                   1   amount of inflation described by Professor Hartzmark in his report, then the Court will include a

                                   2   blank table instead of a table with prefilled numbers. The Court will not include two separate

                                   3   tables (one blank and one prefilled).

                                   4           Defendants also seek to have the jury answer two questions that are not included in

                                   5   Plaintiff’s proposed verdict form. See Def. Verdict at 4–5. Defendants contend that the jury must

                                   6   make a separate finding regarding the date in which the market price of Tesla stock returned to the

                                   7   level that it would have been trading at absent any material misrepresentations, and whether

                                   8   Plaintiff has proven what the implied volatilities for each Tesla stock option traded during each

                                   9   day of the Class Period would have been but for Mr. Musk’s tweets. Id. Neither question is

                                  10   necessary because the jury will already be making these determinations by calculating the amount

                                  11   of artificial inflation and the “but for” implied volatility percentages proved by Plaintiff for each

                                  12   day of the Class Period. The Court has thus omitted these questions from the proposed verdict
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 United States District Court




                                  13   form.

                                  14           Third, for the Section 20(A) Claim Liability section, the Court has incorporated

                                  15   Defendants’ proposed section because it includes a question regarding the good faith defense.

                                  16           Finally, there are two key differences in the last section of the verdict form regarding

                                  17   allocation of responsibility. First, the parties disagree about whether the PSLRA requires a

                                  18   statement-by-statement allocation of responsibility between the defendants. Second, the parties

                                  19   disagree about whether the jury should decide that the defendant made a “knowing violation” or

                                  20   acted with actual knowledge /deliberate recklessness.

                                  21           As for the first point of dispute, the Court agrees with Plaintiff that no aspect of the statute

                                  22   requires the jury to determine responsibility between the defendants for each statement. The

                                  23   PSLRA requires the jury to “make findings . . . concerning . . . the percentage of responsibility of

                                  24   [defendants], measured as a percentage of the total fault of all persons who caused or contributed

                                  25   to the loss incurred by the plaintiff; and whether such person knowingly committed a violation of

                                  26   the securities laws.” 15 U.S.C. § 78u-4(f)(3)(A). Moreover, neither the Vivendi nor the

                                  27   Household verdict forms required a statement-by-statement allocation of responsibility. See

                                  28   Docket No. 593-3 at 69; Docket No. 593-2 at 42. The Court has thus incorporated Plaintiff’s
                                                                                          2
                                         Case 3:18-cv-04865-EMC Document 585 Filed 01/17/23 Page 3 of 12




                                   1   proposal because Defendants have not shown that the jury needs to decide whether each defendant

                                   2   acted with scienter for each false statement.

                                   3          Second, as for the level of scienter required for the allocation of responsibility, the PSLRA

                                   4   requires the jury to decide whether a defendant “knowingly committed a violation of the securities

                                   5   laws.” 15 U.S.C. § 78u-4(f)(3)(A)(iii). This is because any defendant who knowingly violated

                                   6   securities laws is jointly and severally liable under 15 U.S.C. § 78u-4(f)(2)(A). The Court has

                                   7   adopted Plaintiff’s proposed language regarding whether the relevant Defendants committed a

                                   8   knowing violation of the federal securities laws.

                                   9

                                  10          IT IS SO ORDERED.

                                  11

                                  12   Dated: January 17, 2023
Northern District of California
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                                  14                                                   ______________________________________
                                                                                        EDWARD M. CHEN
                                  15                                                    United States District Judge
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                                   1   A.    RULE 10B-5 CLAIM: LIABILITY

                                   2

                                   3         Statement No. 1: “Am considering taking Tesla private at $420. Funding secured.”

                                   4
                                             1.    Has Plaintiff proved their Rule 10b-5 Claim against Elon Musk for Statement No. 1
                                   5               identified above?
                                   6
                                                          Yes: _____            No: _____
                                   7

                                   8         2.    Has Plaintiff proved their Rule 10b-5 Claim against Tesla Inc. for Statement No. 1
                                                   identified above?
                                   9

                                  10                      Yes: _____            No: _____
                                  11

                                  12   _______________________________________________________________________________
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 United States District Court




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                                             Statement No. 2: “Investor support is confirmed. Only reason why this is not certain
                                   1         is that it’s continent on a shareholder vote.”
                                   2

                                   3         3.    Has Plaintiff proved their Rule 10b-5 Claim against Elon Musk for Statement No. 2
                                                   identified above?
                                   4
                                                          Yes: _____            No: _____
                                   5

                                   6         4.    Has Plaintiff proved their Rule 10b-5 Claim against Tesla Inc. for Statement No. 2
                                   7               identified above?

                                   8
                                                          Yes: _____            No: _____
                                   9

                                  10
                                       _______________________________________________________________________________
                                  11         IF YOU CHECKED “YES” FOR ONE OR MORE QUESTIONS IN STATEMENT NOS.
                                                         1 OR 2, PLEASE PROCEED TO THE NEXT PAGE.
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                                             IF YOU CHECKED “NO” FOR EVERY QUESTION IN STATEMENT NOS. 1 AND 2,
                                  13
                                                            PLEASE PROCEED TO SECTION E.
                                  14

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                                   1   B.    RULE 10B-5 CLAIM: DAMAGES

                                   2
                                             1.     Determine the amount of artificial inflation per share of Tesla stock proved by
                                   3                Plaintiff on each date during the Class Period and write it in the table below.
                                   4

                                   5

                                   6              07-      08-       09-      10-          13-      14-      15-      16-       17-
                                   7              Aug      Aug       Aug      Aug          Aug      Aug      Aug      Aug       Aug
                                   8    ($/share) $__.__   $__.__    $__.__   $__.__       $__.__   $__.__   $__.__   $__.__    $__.__
                                   9

                                  10   _______________________________________________________________________________
                                  11                                PLEASE PROCEED TO THE NEXT PAGE.
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                                                         2.        Determine the “but for” implied volatility percentages proved by Plaintiff for each
                                   1                               option contract maturity date during the Class Period and write it in the table
                                   2                               below.

                                   3
                                                                                               Day of Class Period at Close of Market
                                   4

                                   5                                        07-Aug    08-Aug     09-Aug      10-Aug   13-Aug   14-Aug   15-Aug   16-Aug

                                   6
                                                          Aug 10, 2018      ____%     ____%      ____%        NA       NA       NA       NA       NA
                                   7
                                                          Aug 17, 2018      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%
                                   8
                                                          Aug 24, 2018      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%
                                   9
                                                          Aug 31, 2018      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%
                                  10
                                                              Sep 7, 2018   ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%
                                  11
                                                          Sep 14, 2018      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%
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                                                          Sep 21, 2018      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%
                                  13
                                         Maturity Date




                                                          Sep 28, 2018       NA         NA       ____%       ____%    ____%    ____%    ____%    ____%
                                  14
                                                          Oct 19, 2018      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%
                                  15
                                                          Nov 16, 2018      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%
                                  16

                                  17                      Dec 21, 2018      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%

                                  18                      Jan 18, 2019      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%

                                  19                      Feb 15, 2019      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%

                                  20                      Mar 15, 2019      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%

                                  21                      Jun 21, 2019      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%

                                  22                      Aug 16, 2019      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%

                                  23                      Jan 17, 2020      ____%     ____%      ____%       ____%    ____%    ____%    ____%    ____%

                                  24

                                  25   _______________________________________________________________________________

                                  26                                                 PLEASE PROCEED TO THE NEXT PAGE.

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                                               3.     Determine the amount of artificial inflation per Tesla corporate bond proved by
                                   1                  Plaintiff on each date during the Class Period and write it in the table below.
                                   2

                                   3

                                   4                07-     08-       09-       10-        13-     14-       15-       16-      17-
                                   5                Aug     Aug       Aug       Aug        Aug     Aug       Aug       Aug      Aug
                                   6    2019
                                   7    Note
                                   8    2021
                                   9    Note
                                  10    2022
                                  11    Note
                                  12
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                                   1   C.     SECTION 20(A) CLAIM: LIABLITY

                                   2   If you answered “Yes” to one or more questions in Section A, please answer the following
                                   3   questions.

                                   4
                                              1.     Has Plaintiff proved the Section 20(a) Claim as to any of the Tesla Director
                                   5                 Defendants (check all that apply):

                                   6

                                   7          Brad W. Buss:         Yes: _____             No: _____

                                   8          Robyn Denholm:        Yes: _____             No: _____

                                   9          Ira Ehrenpreis:       Yes: _____             No: _____

                                  10          Antonio J. Gracias:   Yes: _____             No: _____

                                  11          James Murdoch:        Yes: _____             No: _____

                                  12          Kimbal Musk:          Yes: _____             No: _____
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                                  13          Linda Johnson Rice: Yes: _____               No: _____

                                  14
                                              2.     If you answered “Yes” in response to Question No. 1 as to any Defendant, have
                                  15                 Defendants proved a Good Faith Defense as to that Defendant (check all that
                                                     apply):
                                  16

                                  17
                                              Brad W. Buss:         Yes: _____             No: _____
                                  18
                                              Robyn Denholm:        Yes: _____             No: _____
                                  19
                                              Ira Ehrenpreis:       Yes: _____             No: _____
                                  20
                                              Antonio J. Gracias:   Yes: _____             No: _____
                                  21
                                              James Murdoch:        Yes: _____             No: _____
                                  22
                                              Kimbal Musk:          Yes: _____             No: _____
                                  23
                                              Linda Johnson Rice: Yes: _____               No: _____
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                                   1   D.    ALLOCATION OF RESPONSIBILITY

                                   2
                                             1.       For any Defendant whom you found liable, did that Defendant commit a knowing
                                   3                  violation of the federal securities laws? Only answer this question as to the
                                   4                  Defendants against whom you found that Plaintiff proved a claim.

                                   5
                                             Elon Musk:             Yes: _____            No: _____
                                   6
                                             Tesla:                 Yes: _____            No: _____
                                   7
                                             Brad W. Buss:          Yes: _____            No: _____
                                   8
                                             Robyn Denholm:         Yes: _____            No: _____
                                   9
                                             Ira Ehrenpreis:        Yes: _____            No: _____
                                  10
                                             Antonio J. Gracias:    Yes: _____            No: _____
                                  11
                                             James Murdoch:         Yes: _____            No: _____
                                  12
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                                             Kimbal Musk:           Yes: _____            No: _____
                                  13
                                             Linda Johnson Rice: Yes: _____               No: _____
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                                             2.       Please decide each Defendant’s share of responsibility for Plaintiff’s losses. Only
                                   1                  assign a percentage of responsibility to those Defendants whom you found liable,
                                   2                  including those who acted recklessly. The total must add up to 100%.

                                   3
                                             Elon Musk:              _____%
                                   4
                                             Tesla:                  _____%
                                   5
                                             Brad W. Buss:           _____%
                                   6
                                             Robyn Denholm:          _____%
                                   7
                                             Ira Ehrenpreis:         _____%
                                   8
                                             Antonio J. Gracias:     _____%
                                   9
                                             James Murdoch:          _____%
                                  10
                                             Kimbal Musk:            _____%
                                  11
                                             Linda Johnson Rice: _____%
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                                   1   E.    RETURN OF VERDICT

                                   2         Once the form is completed, the foreperson for the jury must sign and date it below.

                                   3

                                   4   Dated: ________________________            Signed_________________________
                                                                                        Jury Foreperson
                                   5

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